Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 1 of 21




         Exhibit C
             Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 2 of 21


Lily Dempsey

From:               Nathalie Fayad <nfayad@lewisllewellyn.com>
Sent:               Sunday, June 23, 2019 2:03 PM
To:                 dgold@seidenlegal.com
Cc:                 Steven Seiden; Robert W. Seiden; nfrancis@seidenlegal.com
Subject:            RE: Baliga v. Link Motion Inc. et al / Request to Apple


Thishasbeenconfirmed.

From:dgold@seidenlegal.com<dgold@seidenlegal.com>
Sent:Thursday,June20,20192:06PM
To:NathalieFayad<nfayad@lewisllewellyn.com>
Cc:StevenSeiden<sseiden@seidenlegal.com>;RobertW.Seiden<rseiden@seidenlegal.com>;
nfrancis@seidenlegal.com
Subject:RE:Baligav.LinkMotionInc.etal/RequesttoApple

HiNathalie,

Ihopeyouarewell.

CanyouconfirmtheamountsentbyAppleonJune10?Wehaveanincomingwireforabout$110,952.01andwouldlike
toconfirmitwassentbyApple.

Thanks,

Dov

ͲͲͲͲͲͲͲͲͲOriginalMessageͲͲͲͲͲͲͲͲͲ
Subject:RE:Baligav.LinkMotionInc.etal/RequesttoApple
From:"NathalieFayad"<nfayad@lewisllewellyn.com>
Date:5/31/196:35pm
To:"dgold@seidenlegal.com"<dgold@seidenlegal.com>
Cc:"StevenSeiden"<sseiden@seidenlegal.com>,"RobertW.Seiden"<rseiden@seidenlegal.com>,
"nfrancis@seidenlegal.com"<nfrancis@seidenlegal.com>

Here’swhatisinApple’ssystem:







                                                         1
               Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 3 of 21

From:dgold@seidenlegal.com<dgold@seidenlegal.com>
Sent:Friday,May31,20196:29AM
To:NathalieFayad<nfayad@lewisllewellyn.com>
Cc:StevenSeiden<sseiden@seidenlegal.com>;RobertW.Seiden<rseiden@seidenlegal.com>;
nfrancis@seidenlegal.com
Subject:RE:Baligav.LinkMotionInc.etal/RequesttoApple
Importance:High



Nathalie,



Thankyouforthefollowup.



PleasesendustheformerbankingdetailsusedbyLinkMotion.ThisisatimeͲsensitiverequestbecauseit
appearstobeanaccountthatwehavenotyetfrozenintheU.S.orHongKong.Weneedthedetailstosecure
thataccountassoonaspossible.



Thankyou,



Dov



 ͲͲͲͲͲͲͲͲͲOriginalMessageͲͲͲͲͲͲͲͲͲ

 Subject:RE:Baligav.LinkMotionInc.etal/RequesttoApple
 From:"NathalieFayad"<nfayad@lewisllewellyn.com>
 Date:5/30/197:16pm
 To:"DovB.Gold"<dgold@seidenlegal.com>
 Cc:"StevenSeiden"<sseiden@seidenlegal.com>,"RobertW.Seiden"<rseiden@seidenlegal.com>,
 "nfrancis@seidenlegal.com"<nfrancis@seidenlegal.com>

 Onthebankinginformation,theattemptwastoreverttothedetailsonfilebeforeweswitchedoverto
 thereceiverbankinginformation.Appledoesnothavefurtherentityinformation.Itdoesnotappear
 thattheattemptwassuccessfulsoAppledoesnothavearecordofwhatthenewentityinformation
 wouldbe.

 

 From:DovB.Gold<dgold@seidenlegal.com>
 Sent:Thursday,May30,20194:09PM
 To:NathalieFayad<nfayad@lewisllewellyn.com>

                                                           2
            Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 4 of 21

Cc:StevenSeiden<sseiden@seidenlegal.com>;RobertW.Seiden<rseiden@seidenlegal.com>;
nfrancis@seidenlegal.com
Subject:Re:Baligav.LinkMotionInc.etal/RequesttoApple



Muchappreciated!

DovByronGold,Esq.
TheSeidenGroup
AttorneysatLaw
4697thAvenue
NewYork,NY10018
(Office)646.766.1703
www.seidenlegal.com


OnMay30,2019,at7:06PM,NathalieFayad<nfayad@lewisllewellyn.com>wrote:

       Ibelievetheindividual’snamewasLiu Repice – let me see if I can obtain further
       information. 

       

       From:dgold@seidenlegal.com<dgold@seidenlegal.com>
       Sent:Thursday,May30,20193:58PM
       To:NathalieFayad<nfayad@lewisllewellyn.com>;StevenSeiden
       <sseiden@seidenlegal.com>
       Cc:'RobertW.Seiden'<rseiden@seidenlegal.com>
       Subject:RE:Baligav.LinkMotionInc.etal/RequesttoApple

       

       Nathalie,

       

       Weappreciatetheupdate.

       

       Pleaseadviseontheidentityofthepartythatattemptedtoupdatetheentityand
       bankinginformation.Wewouldalsoappreciateifyoucouldprovidethe"updated"
       bankingandentityinformationtoassistinoureffortstopreventthedissipationofLink
       Motion'sassets.

       

       Thanks,

       

                                                           3
       Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 5 of 21

Dov

ͲͲͲͲͲͲͲͲͲOriginalMessageͲͲͲͲͲͲͲͲͲ

Subject:RE:Baligav.LinkMotionInc.etal/RequesttoApple
From:"NathalieFayad"<nfayad@lewisllewellyn.com>
Date:5/30/196:52pm
To:"dgold@seidenlegal.com"<dgold@seidenlegal.com>,"StevenSeiden"
<sseiden@seidenlegal.com>
Cc:"'RobertW.Seiden'"<rseiden@seidenlegal.com>

Dov—



Followinguponthebelow,we’vejustbeeninformedthatsomeoneatthe
companymadeanattempttoupdatetheentityandbankinginformation.We
canconfirmthatnomoneywasreroutedasaresultoftheattempt,andthat
allheldfundswillbecorrectlydirectedtothereceiverbyJune13.



Best,

Nathalie





From:NathalieFayad
Sent:Thursday,May9,201912:43PM
To:dgold@seidenlegal.com;StevenSeiden<sseiden@seidenlegal.com>
Cc:'RobertW.Seiden'<rseiden@seidenlegal.com>
Subject:RE:Baligav.LinkMotionInc.etal/RequesttoApple



ApplerunsonaspecificscheduleandJune6thisthenextpaymentdayonthat
schedulesoanearlieraccommodationisnotpossible.



Thanks,

Nathalie



From:dgold@seidenlegal.com<dgold@seidenlegal.com>
Sent:Wednesday,May8,20193:21PM

                                                  4
      Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 6 of 21

To:NathalieFayad<nfayad@lewisllewellyn.com>;StevenSeiden
<sseiden@seidenlegal.com>
Cc:'RobertW.Seiden'<rseiden@seidenlegal.com>
Subject:RE:Baligav.LinkMotionInc.etal/RequesttoApple



HiNathalie,



Thanksforyouremail.



Woulditbepossibletoschedulethisinitialanddelayedpaymentforan
earlierdate?



Pleasealsoadviseontheexpectedamountofthefirstpayment.



Bestregards,



Dov



 ͲͲͲͲͲͲͲͲͲOriginalMessageͲͲͲͲͲͲͲͲͲ

 Subject:RE:Baligav.LinkMotionInc.etal/RequesttoApple
 From:"NathalieFayad"<nfayad@lewisllewellyn.com>
 Date:5/8/194:40pm
 To:"dgold@seidenlegal.com"<dgold@seidenlegal.com>,"Steven
 Seiden"<sseiden@seidenlegal.com>
 Cc:"'RobertW.Seiden'"<rseiden@seidenlegal.com>

 Furthertothebelow,themoniesarecurrentlybeingwithheldas
 Applefacedcertainchallengesrelatedtotheinternationalnatureof
 thepayments.However,Appleisscheduledtoissuepaymentson
 June6thandongoingthereafter.

 

 From:NathalieFayad
 Sent:Tuesday,May7,20193:44PM
 To:dgold@seidenlegal.com;StevenSeiden

                                                   5
     Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 7 of 21

<sseiden@seidenlegal.com>
Cc:'RobertW.Seiden'<rseiden@seidenlegal.com>
Subject:RE:Baligav.LinkMotionInc.etal/RequesttoApple



I’llgetbacktoyouonthis.



From:dgold@seidenlegal.com<dgold@seidenlegal.com>
Sent:Tuesday,May7,201912:18PM
To:NathalieFayad<nfayad@lewisllewellyn.com>;StevenSeiden
<sseiden@seidenlegal.com>
Cc:'RobertW.Seiden'<rseiden@seidenlegal.com>
Subject:RE:Baligav.LinkMotionInc.etal/RequesttoApple



HiNathalie,



Itrustyouarewell.



CanItroubleyouforanupdateonthepaymentsowedtoLink
MotionthattheReceiverrequestedbesenttohisescrowaccount?



Thanks,



Dov



 ͲͲͲͲͲͲͲͲͲOriginalMessageͲͲͲͲͲͲͲͲͲ

 Subject:RE:Baligav.LinkMotionInc.etal/Requestto
 Apple
 From:dgold@seidenlegal.com
 Date:4/11/192:05pm
 To:"NathalieFayad"<nfayad@lewisllewellyn.com>,"Steven
 Seiden"<sseiden@seidenlegal.com>
 Cc:"'RobertW.Seiden'"<rseiden@seidenlegal.com>

 Thankyouforyourhelp.

                                                   6
      Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 8 of 21



 ͲͲͲͲͲͲͲͲͲOriginalMessageͲͲͲͲͲͲͲͲͲ

 Subject:RE:Baligav.LinkMotionInc.etal/
 RequesttoApple
 From:"NathalieFayad"
 <nfayad@lewisllewellyn.com>
 Date:4/11/191:59pm
 To:"dgold@seidenlegal.com"
 <dgold@seidenlegal.com>,"StevenSeiden"
 <sseiden@seidenlegal.com>
 Cc:"'RobertW.Seiden'"
 <rseiden@seidenlegal.com>

 HerearethecustomercontactsAppleidentifiedat
 NQMobileInc.

 

 <image001.png>

 

 NathalieFayad

 415Ͳ625Ͳ0694

 nfayad@lewisllewellyn.com

 

 From:dgold@seidenlegal.com
 <dgold@seidenlegal.com>
 Sent:Friday,April5,201912:50PM
 To:NathalieFayad<nfayad@lewisllewellyn.com>;
 StevenSeiden<sseiden@seidenlegal.com>
 Cc:'RobertW.Seiden'<rseiden@seidenlegal.com>
 Subject:RE:Baligav.LinkMotionInc.etal/
 RequesttoApple

 

 DearNathalie,

 IamfollowingupontheReceiver'sletterdated
 March19,2019.

 PleasenotethattheReceiverisonlyrequestingthat
 fundspayabletoLinkMotionaredisbursedtothe
 Receiver’sescrowaccount.Atthistime,the
 Receiverisnotrequestinganychangetothe
                                                    7
      Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 9 of 21

technicalmanagementofLinkMotionAppsorits
businessrelationshipwithApple.

Pleaseconfirmreceiptofthisemail.



Thankyou,

Dov

 ͲͲͲͲͲͲͲͲͲOriginalMessageͲͲͲͲͲͲͲͲͲ

 Subject:RE:Baligav.LinkMotionInc.etal
 /RequesttoApple
 From:"NathalieFayad"
 <nfayad@lewisllewellyn.com>
 Date:4/3/1912:23pm
 To:"StevenSeiden"
 <sseiden@seidenlegal.com>
 Cc:"DovB.Gold"
 <dgold@seidenlegal.com>,"'RobertW.
 Seiden'"<rseiden@seidenlegal.com>

 Steven—

 

 Apple’sTaxDepartmenthasjustinformed
 methatitwillrequireaW9forTheSeiden
 GroupͲIOLAaccountifyoucouldplease
 sendthatmyway.

 

 Thanks,

 Nathalie

 

 

 NathalieFayad

 415Ͳ625Ͳ0694

 nfayad@lewisllewellyn.com

 


                                                  8
 Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 10 of 21

From:StevenSeiden
<sseiden@seidenlegal.com>
Sent:Monday,April1,20191:22PM
To:NathalieFayad
<nfayad@lewisllewellyn.com>
Cc:DovB.Gold<dgold@seidenlegal.com>;
'RobertW.Seiden'
<rseiden@seidenlegal.com>
Subject:RE:Baligav.LinkMotionInc.etal
/RequesttoApple
Importance:High



Hi Natalie, as requested, see attached
and below. Please confirm receipt and
advise on status asap. Thank you,
Steve.

 

Address of the Court-Appointed
Receiver:

U.S. Federal Court-Appointed
Receivership for Link Motion, Inc.

Robert W. Seiden, Esq. in his capacity
as the Court-Appointed Receiver for
Link Motion, Inc.

469 Seventh Avenue, 5th Floor

New York, New York 10018

 

______________________________
__

Steven Seiden, Esq., CPA

on behalf of the Court-Appointed
Receiver for Link Motion, Inc.

 

469 Seventh Avenue, 5th Floor

New York, NY 10018

Direct Dial: 646-766-1724

 
                                                 9
Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 11 of 21






-------- Original Message -----
---
Subject: Baliga v. Link Motion
Inc. et al / Request to Apple
From: Nathalie Fayad
<nfayad@lewisllewellyn.com
>
Date: Fri, March 29, 2019
6:56 pm
To:
"sseiden@seidenlegal.com"
<sseiden@seidenlegal.com>
Cc: "Dov B. Gold"
<dgold@seidenlegal.com>,
"'Robert W. Seiden'"
<rseiden@seidenlegal.com>,
'Zhengling Zhang'
<zzhang@seidenlegal.com>,
'Zhengling Zhang'
<zzhang@seidenlegal.com>

Steve—

    

I understand you will be
the contact regarding
the Link Motion
Receivership. 

    

Apple has identified the
following relevant SAP
IDs:

        x   NQ Mobile US Inc. 
        x   NQ Mobile Inc.
        x   xin lei

    

Apple will now set you
up with their Supplier
Connect System. To
that end, please respond
to this email with: 
                                  10
Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 12 of 21
     x    Receiver name and
          address
     x    Receiver banking
          details
     x    Tax Documents
          dependent US or non-
          US based entity for the
          receiver (W9 or W8)

 

Best,

Nathalie 

 

Nathalie Fayad
Lewis & Llewellyn
LLP | Attorney 

505 Montgomery Street, Suite 1300
San Francisco, CA 94111

415-625-0694

WWW.LEWISLLEWELLYN.CO
M

<image002.png>


This email may contain confidential and/or
privileged information. If you received this
email in error please delete and notify
sender.


 




                                               11
Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 13 of 21
Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 14 of 21
Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 15 of 21
Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 16 of 21
Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 17 of 21
Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 18 of 21
                Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 19 of 21




2211 North First Street
San Jose, CA 95131
paypal.com

              VIA EMAIL (rseiden@seidenlegal.com)

              April 1, 2019

              Robert W Seiden
              The Seiden Group
              469 Seventh Avenue, 5th Floor
              New York, New York I 0036

              RE: Baliga et al. v. Link Motion Inc. et al.; Case No. 1:18-CV-11642; Our Reference PT-7436569

              Dear Mr. Seiden:

              Thank you for contacting PayPal, Inc. ("PayPal"). We are in receipt of your Receivership Order in
              the above-captioned case. We have placed a high level limitation on the following PayPal
              account(s) pursuant to the above-referenced Receivership Order:

              PayPal accounts
              Account Name: Christopher Edwards
              Account Email: accounts@nq.com
              Account Balance: $0.00

              Account Name: chen Nancy
              Account Email: nqpayment@nq.com
              Account Balance: $227.16

              Account Name: wang Yi Wen
              Account Email: payment@netqin.com
              Account Balance: $4,787.95

              Please be advised that while your transmitting correspondence that accompanied the
              Receivership Order directed PayPal to take the following actions:

                          (1) Revoke all passwords, log-in information, access codes, usernames and the like, in
                          order to access Link Motion accounts and issue new administrator credentials to your
                          in-house counsel, Steven E. Seiden, Esq. or Dov B. Gold, Esq.; and

                          (2) Direct all communication with Link Motion directly to you, or your in-house counsel,
                          Steven E. Seiden, Esq. (sseiden@seidenlegal.com) or Dov B. Gold, Esq.
                          (dgold@seidenlegal.com),

              PayPal’s systems do not give PayPal the ability to revoke or change passwords or log-in
              information. Instead, in addition to the high-level limitation on the foregoing accounts, each
 Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 20 of 21




account has been locked, which prevents the user from logging into the account(s) and cancels
all pending transactions (if any). The funds in each account have also been placed into reserves,
which further prevents the funds from being withdrawn from the account(s) by the user(s).

PayPal can also add the email addresses for Steven E. Seiden, Esq. (sseiden@seidenlegal.com)
or Dov B. Gold, Esq. (dgold@seidenlegal.com) to each of the foregoing accounts. At your
direction, PayPal can assign either sseiden@seidenlegal.com or dgold@seidenlegal.com as the
primary email for the subject accounts. This change will (i) direct all future emails relating to the
accounts to the specified primary email address, and (ii) allow your office to go through the
password recovery process to change the passwords on the subject accounts.

Please confirm, in writing, which email address should be used as the new primary email on the
foregoing accounts.

Lastly, please be advised while the attached documents show "balance(s)" in the Account(s) as
of April 1, 2019, please note that this does not mean that the balance listed for each Account
will remain the same or that we can turn the Account balance(s) over at this time, or at any
specific future date. Pursuant to the User Agreement(s) governing the PayPal Account(s) (the
"User Agreements"), all Accounts are subject to PayPal's and/or its affiliates' setoff, recoupment,
chargeback, holdback, reserve, currency fluctuation, and other rights. All Accounts are further
subject to a security interest in favor of PayPal and/or its affiliates under the User Agreements.
Account balances may be reduced as a result of PayPal's foregoing rights under the User
Agreements or applicable law due to, among other matters (which may have occurred prior to
PayPal's receipt of the Receivership Order but not yet processed through the Account(s)):

        1. If the User loses a buyer complaint or chargeback, then the amount of that
        transaction will be debited from the Account balance;
        2. Cancellations of orders, resulting a refund that is debited from the Account balance;
        3. Other transaction reversals;
        4. Currency fluctuations;
        5. Other legal process received prior to the receipt of the Receivership Order or
        subsequent to it that requires PayPal to remit the funds to a third party or court; or
        6. Exercise by PayPal and/or its affiliates of any other rights and/or interests in the
        Account(s) under the User Agreement or applicable law.

No third party has rights with respect to Account(s) or funds in them greater than those of a
User. The User's rights-and in turn, any rights you may have, which are derivative of the User's
rights-are subject in each case to PayPal's and its affiliates' rights and interests, including under
the applicable User Agreement(s). As a result, and for the above reasons, we are holding the
Account balance(s) (as they may be reduced from time to time) until such time as (a) PayPal
has determined that (i) all of the User's obligations to it or its affiliates have been full satisfied,
(ii) all of PayPal's and its affiliates' rights and interests relating to or in, the Account(s) have been
fully satisfied, and (iii) applicable law does not prohibit PayPal from releasing the Account
balance(s); or (b) PayPal becomes obligated under an order by a court of competent jurisdiction
to release the Account balance(s) pursuant to such order (with all of PayPal's rights to contest,




                 2211 North First Street San Jose, CA 95131
                 paypal.com
 Case 1:18-cv-11642-VM-VF Document 376-3 Filed 11/18/22 Page 21 of 21




respond, intervene or otherwise receive notice and be heard with respect to such proceedings
or order hereby fully reserved). Please note that in the case of (a), such time period will not be
less than ninety (90) days, but may be significantly longer, in light of buyer dispute and related
buyer rights under the User Agreement(s), credit card issuer agreements, other applicable
agreements and/or applicable law.

PayPal reserves all rights and defenses under applicable law or at equity, including without
limitation, with respect to proper service of process, notice, opportunity to be heard, and
jurisdiction.

Should you have any further questions or need any additional information, please feel free to
contact me directly by email at EEOmaLegalSpecialist@PayPal.com.

Sincerely,




Chad Svagera
Legal Specialist
PayPal, Inc.




                   2211 North First Street San Jose, CA 95131
               paypal.com
